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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk                                                           Reply to Southern Division Address
David E. Ciambruschini, Chief Deputy
Elizabeth B. Snowden, Chief Deputy



                                                    August 2, 2022




                         RECEIPT FOR SURRENDER OF PASSPORT



                                                                                               USA v. Hana Khidir Abdalla
                                                                                            8:20−cr−00014−PX *SEALED*




Received 8/2/2022 from Caitlin R. Cottingham, one passport ending with 2394 issued by
the country of United States of America which is being surrendered to the Court as a
special condition of the defendant's release. This passport is to be held in the custody of the
Court until further ordered. Following the termination of these proceedings, the Clerk will
order the destruction of any passport in custody beyond twenty years from date of issuance
of the passport.




                                                                                       Very truly yours,
                                                                                                  /s/
                                                                                       Catherine M. Stavlas
                                                                                       Clerk, U.S. District Court
                                                                                       District of Maryland
                                                                                       prepared by: M. Giron




      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
